UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------- :
 SHIVA STEIN,                                              :
                                                           :
                   Plaintiff,                              : Civ. No.     1:22-cv-3703
                                                           :
 v.                                                        :
                                                           :
 HEALTHCARE TRUST OF AMERICA,                              :
 INC., W. BRADLEY BLAIR, II, VICKI U.                      :
 BOOTH, H. LEE COOPER, WARREN D.                           :
 FIX, JAY P. LEUPP, RESHMA BLOCK, and :
 CONSTANCE B. MOORE,                                       :
                                                           :
                   Defendants.                             :
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                            NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Shiva Stein hereby voluntarily dismisses her individual claims in the above-

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed with

the Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: July 21, 2022                                    Respectfully submitted,

                                                      MELWANI & CHAN LLP

                                                      /s Gloria Kui Melwani
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